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                                                                             *ZZ*
MOSTAFA KAMEL HUSSEIN NOSSEIR
AVENIDA GENERAL OLYNTHO PILLAR,
355, BLOC 1, APT 307 BARRA DA
TIJUCA RIO DE JANEIRO 22793-610
BRAZIL
*RDJ2016561006* Interview Letter (P4)


August 8, 2016

Dear MOSTAFA KAMEL HUSSEIN NOSSEIR,

The National Visa Center (NVC) completed the domestic pre-processing of the immigrant visa petition
RDJ2016561006 filed by NOSSEIR, GABRIEL MOSTAFA on behalf of MOSTAFA KAMEL
HUSSEIN NOSSEIR. The NVC will now forward the petition to the U.S. Embassy or Consulate in RIO
DE JANEIRO, BRAZIL for a visa interview. This letter serves as formal notification of the visa
interview. SAVE this letter and present it to the U.S. Embassy or Consulate guard/receptionist at the time
of the interview.

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Interview Date and Time
================================================================================
An immigrant visa interview is scheduled for MOSTAFA KAMEL HUSSEIN NOSSEIR and any eligible
derivative applicants (see applicants eligible to attend the interview below) at the U.S. Embassy or
Consulate in RIO DE JANEIRO, BRAZIL on September 19, 2016 at 09:20 am.

================================================================================
Applicants Eligible to Attend the Interview
================================================================================
Name                                                         Date of Birth   Place of Birth
NOSSEIR, MOSTAFA KAMEL HUSSEIN                               10FEB1943       EGYPT


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Family Reunification Parole (FRP) Program Interviews
================================================================================
If your visa symbol is CP1 or HP1, your petition is processing under the Family Reunification Parole
(FRP) Program. If you are processing as part of this program, you may need to supply additional
documents during your interview. Go to the Required Visa Interview Documents and Document Status
Code Definitions section of this letter and:

            View code V for Cuba.                                      View code Q for Haiti.
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